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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


             UNITED STATES OF AMERICA                          )
                             Plaintiff                         )
                                v.                             )      Case No.     1:22-cr-00025-APM-1
                           Kirstyn Niemela                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          DEFENDANT KIRSTYN NIEMELA                                                                                    .


Date:          02/12/2023                                                                /s/ John M. Pierce
                                                                                          Attorney’s signature


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